                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                                Case No. 12-CR-88

MOHAMMAD UDDIN
             Defendant.


                                            ORDER

       IT IS ORDERED that an amended judgment issue, pursuant to 18 U.S.C. § 3664(d)(5),

setting forth final restitution figures. Defendant’s total restitution obligation shall be reduced

by $51,394.00, for a final total of $513,674.00, based on findings made at the sentencing of

co-defendant Mazher Khan. Payment is due joint and several as follows:

       $66,400.00 joint and several with Mohammed Mazharuddin and Maher Sunnokrot;

       $58,150.00 joint and several with Mazher Khan;

       $220,882.20 joint and several with Shakil Wamiq; and

       $7644.00 joint and several with Farrukh Aslam.

       Dated at Milwaukee, Wisconsin, this 29th day of July, 2013.

                                           /s Lynn Adelman
                                           ______________________________
                                           LYNN ADELMAN
                                           District Judge




    Case 2:12-cr-00088-LA        Filed 07/29/13    Page 1 of 1     Document 237
